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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
CHAPTER 13 PLAN (individual Adjustment of Debts) www.fisb.uscourts.qov
[X]___FIRST___ Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
[ ]_ Modified Plan (Indicate 1st, 2nd, etc. modified, if applicable)

InRe: VICTOR JESUS CASTANEDA MIRIAM JULIA CASTANEDA Case No.
XXX-XX-6386 XXX-XX-2401 16-21121 RAM

{ ] This document is a plan summary. Additional data on file in clerk's office attached to original plan.

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from fiting/conversion date,
Debtor(s) to pay to the trustee for the period of 36 months. In the event the trustee does not collect the full 10%,
any portion not collected will be paid to creditors pro-rata under the plan:

 

 

A. $ 114.05 formonths 14 to 36 in order to pay the following creditors:
Administrative: SAFE HARBOR ATTORNEY FEES: Base Fee: $3,500.00
Motion to Avoid Lien $ 525.00
$4,025.00
LESS: Total Paid: $2,000.00
Balance Due: $2,025.00
Payable: $101.25 /month (Months 1 to 20 }
Secured Creditors: [Retain Liens pursuant to 11 U.S.C. 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
1 Secured Claim on Petition Date
Payment /month (Months 1 to 60)

IF YOU ARE ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL

SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED

ON YOU PURSUANT TO BR 7004 and LR 3015-3.

Secured Creditor Description and Interest Plan Months of Payments |Total el
Value of Collateral Rate Payments Payments

 

 

 

 

 

 

 

 

 

 

Priority Creditors: [as defined in 11 U.S.C. section 507]
1 Total Due:

Payable: ‘month (Months 1 to 60)

 

Unsecured Creditors: Pay $1.39/month (Months 1 to 20); $102.64/month (Months 21 to 36).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:

(1) Debtors will continue making direct payments to REGIONS MORTGAGE (0151), first mortgagee on their homestead
property located at 8030 SW 4th Street, Miami, FL 33144, outside of the plan.

(2) The Chapter 13 Trustee has requested on or before May 15 of each year during the pendency of the plan, the
Debtor(s) will file the documents listed in section 521(f}(1),(2), (3) and (4).

hubr order wfalih

VICTOR JESUS CASTANEDA Date

 

 

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MIRIAM JULIA CASTANEDA Date

LF-31 (rev. 01/08/10)
